EXHIBIT 1
E. & G. Gabriel v. Gabriel Bros., Inc., Not Reported in F.Supp. (1994)
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                      1994 WL 369147
        United States District Court, S.D. New York.                                      BACKGROUND

         E. & G. GABRIEL, a partnership, Plaintiff,                Prior to 1985, Elias Gabriel owned stock and operated a retail
                             v.                                    department store in Pennsylvania along with his brothers
         GABRIEL BROTHERS, INC. f/k/a Gabriel                      Arthur Gabriel, Sr., and James Gabriel. Amended Complaint
        Brothers Discounts, Inc., Arthur Gabriel, Sr.,             at 7. In June of 1985, Elias sold this stock to defendants
        James Gabriel, Gilbert Gabriel, Paul Gabriel,              Arthur, James, and Brothers Stores. Id. After selling his
                                                                   shares, Elias established a new retail business with his son
      John Gabriel, Arthur Gabriel, II, Ronald Gabriel,
                                                                   Gregory, that being the partnership E. & G. Gabriel (“E. &
         Samuel Goldstein, Certified–Fashion Guild,
                                                                   G.”). Since 1985, this retail store has expanded its operation
        Inc., and Richard and Company, Defendants.
                                                                   to include five (5) stores in Western Pennsylvania and Ohio.
                   No. 93 CIV. 0894 (PKL).                         Id. at 8. Defendant Brothers Stores also operate a chain of
                               |                                   retail stores in this geographic area but not in exactly the
                        July 13, 1994.                             same communities as plaintiff. Id. at 4. Both chains sell a
                                                                   wide variety of discounted goods, ranging from women and
Attorneys and Law Firms                                            children's clothing to housewares and household items. Id. at
                                                                   4–5.
McDermott, Will & Emery New York City, Lloyd
Constantine, Russell G. Tisman, Yang Chen, of counsel, for         Shortly after E. & G. was formed in 1985, defendants
plaintiffs.                                                        Brothers Stores, Arthur Gabriel, Sr., James Gabriel, Gilbert
                                                                   Gabriel, Paul Gabriel, John Gabriel, Arthur Gabriel II,
Howrey & Simon, Washington, DC, Stuart H. Harris,
                                                                   Ronald Gabriel (“the Brothers”) and the buyer for the
Kenneth A. Gallo, Kimberly D. Reed, of counsel, Leader &
Berkon, New York City, James K. Leader, of counsel, for            Brothers Stores, Samuel Goldstein, 2 allegedly launched a
Defendant Gabriel Bros., Inc.                                      campaign of anticompetitive behavior aimed at damaging
                                                                   plaintiff's business. Id. at 8. Plaintiff contends that, through
Shea & Gould, New York City, John E. Daniel, of counsel,           this campaign, defendants intended to eliminate plaintiff's
Silverman, Coopersmith & Frimmer, Philadelphia, PA,                supplies, destroy competition, and monopolize the tri-state
Lawrence Silverman, of counsel, for defendant Goldstein.           market, comprising Eastern Ohio, Southwest Pennsylvania
                                                                   and Eastern West Virginia, for the sale of name-branded deep
                                                                   discounted merchandise (“NBDDM”). 3 Id. at 10. Plaintiff
                  OPINION AND ORDER                                alleges that in furtherance of this goal, defendants threatened
                                                                   to stop purchasing goods for Brothers Stores unless the
LEISURE, District Judge,                                           suppliers refused to sell to plaintiff. Plaintiff also alleges that
                                                                   in furtherance of their anti-competitive campaign, Brothers
 *1 This antitrust action arises out the alleged anticompetitive
                                                                   Stores, through Goldstein and another buyer, Certified
conduct of Gabriel Brothers, Inc., f/k/a Gabriel Brothers
Discounts, Inc., following a schism in the Gabriel family          Fashion Guild, Inc. 4 , purchased merchandise beyond their
business which resulted in the formation of two distinct           needs and agreed to pay prices in excess of the goods' fair
companies, Gabriel Brothers, Inc. (“Brothers Stores”), and E.      market value. This was allegedly done with the motive of
& G. Gabriel. Plaintiff E. & G. Gabriel alleges that defendants    driving E. & G. out of the NBDDM market. Id. at 8–10.
violated §§ 1 and 2 of the Sherman Antitrust Act, as well as §§    Plaintiff alleges in its amended complaint that these acts
340–47 of the New York General Business Law, commonly              resulted in the unlawful restraint of trade in the NBDDM
known as the Donnelly Act. Defendants Brothers Stores and          market in the tri-state area. Id. at 11. Defendants now move
                                                                   this Court for an order dismissing the action pursuant to
Samuel Goldstein 1 move this Court for an order, pursuant
                                                                   Fed.R.Civ.P. 12(b)(6).
to Fed.R.Civ.P. 12(b)(6), dismissing the action for failure to
state a claim upon which relief can be granted. For the reasons
stated below, defendants' motion is hereby granted.



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                                                                     Defendants contend that plaintiff has failed properly to
                                                                     allege a relevant product market as required by the Sherman
                         DISCUSSION
                                                                     Antitrust Act. Generally, under § 1 and § 2 of the Sherman
I. STANDARD FOR A MOTION TO DISMISS                                  Antitrust Act, a plaintiff must allege a contract, combination,
 *2 Defendants have moved for an order dismissing                    or conspiracy constituting an unlawful restraint of trade.
plaintiff's claim pursuant to Fed.R.Civ.P. 12(b)(6). In deciding     See 15 U.S.C. § 1; Acquaire v. Canada Dry Bottling
defendants' motion, this Court must apply “the familiar              Co., No. 93–7368, slip op. at 4026 (2d Cir. May 13,
standard for review of a Rule 12(b)(6) motion, which requires        1994). As a prerequisite to any antitrust claim, however,
a court to construe any well-pleaded factual allegations in the      plaintiff “must allege a relevant product market in which
complaint in favor of the plaintiff and dismiss the complaint        the anticompetitive effects of the challenged activity can be
only if ‘it appears beyond doubt that the plaintiff can prove no     assessed.” Re–Alco Industries, Inc. v. National Center for
set of facts in support of his claim which would entitle him to      Health Educ., Inc., 812 F.Supp. 387, 391 (S.D.N.Y.1993)
relief.’ ” Gagliardi v. Village of Pawling, 18 F.3d 188, 191 (2d     (quoting Jefferson Parish Hosp. Dist. No. 2 v. Hyde, 466 U.S.
Cir.1994) (quoting Allen v. West–Point–Pepperell, Inc., 945          2, 29 (1984)). Furthermore, the alleged product market must
F.2d 40, 44 (2d Cir.1991) (quoting Conley v. Gibson, 355 U.S.        be theoretically plausible. See Theatre Party Assocs., Inc.
41, 45–46, (1957))).                                                 v. Shubert Org., Inc., 695 F.Supp. 150, 154 (S.D.N.Y.1988)
                                                                     (complaint dismissed where plaintiff failed to set out a
“The court's function on a Rule 12(b)(6) motion is not to            “theoretically rational explanation to support its proposed
weigh the evidence that might be presented at a trial but            relevant product market”). Because of these constraints, in
merely to determine whether the complaint itself is legally          the context of Rule 12 motions to dismiss, federal courts
sufficient.” Festa v. Local 3 International Brotherhood of           “have not hesitated to reject market allegations that make no
Electrical Workers, 905 F.2d 35, 37 (2d Cir.1990). Thus,             economic sense.” Id.; see also Shaw v. Rolex Watch, U.S.A.,
a motion to dismiss must be denied “unless it appears                Inc. 673 F.Supp. 674, 679 (S.D.N.Y.1987) (dismissing claim
beyond doubt that the plaintiff can prove no set of facts            for failure properly to allege a relevant product market);
in support of his claim which would entitle him to relief.”          Gianna Enterprises v. Miss World (Jersey) Ltd., 551 F.Supp.
Scheuer v. Rhodes, 416 U.S. 232, 236 (1974) (citing Conley           1348, 1354 (S.D.N.Y.1982) (claim dismissed for failure
v. Gibson, 355 U.S. 41, 45–46 (1957)). “When determining             to explain why market for international beauty pageants
the sufficiency of plaintiffs' claim for Rule 12(b)(6) purposes,     excludes state and national beauty pageant).
consideration is limited to the factual allegations in plaintiffs'
amended complaint, which are accepted as true, to documents           *3 In determining the relevant market, the general rule is
attached to the complaint as an exhibit or incorporated in it by     that “commodities reasonably interchangeable by consumers
reference, to matters of which judicial notice may be taken,         for the same purposes make up that ‘part of the trade or
or to documents either in plaintiffs' possession or of which         commerce,’ monopolization of which may be illegal.” United
plaintiffs had knowledge and relied on in bringing suit.” Brass      States v. E.I. du Pont de Nemours & Co., 351 U.S. 377, 395
v. American Film Technologies, Inc., 987 F.2d 142, 150 (2d           (1956); see Frito–Lay, Inc. v. Bachman Co., 659 F.Supp. 1129,
Cir.1993) (citing Cortec Indus., Inc. v. Sum Holding L.P., 949       1136 (S.D.N.Y.1986).
F.2d 42, 47–48 (2d Cir.1991), cert. denied, 503 U.S. 960, 112
S.Ct. 1561 (1992)).                                                  Reasonable interchangeability is determined by the following
                                                                     criteria: (1) low cross-elasticity of demand; (2) the impact
Defendants raise a number of defenses to plaintiff's claims,         of price change of one product on the price of the other;
inter alia: (1) plaintiff's failure properly to allege a relevant    (3) the similarity of use or purpose for each product; and,
product market; (2) plaintiff's failure sufficiently to allege       (4) the similarity in clientele for each product. See Rosen v.
anticompetitive behavior attributable to defendants; (3)             Hyundai Group (Korea), 829 F.Supp. 41, 47 (E.D.N.Y.1993)
plaintiff's failure properly to allege facts supporting a            (“goods are in the same relevant product market if they
dangerous probability of achieving monopoly power.                   are reasonably interchangeable for the purposes for which
                                                                     they were produced”); Frito–Lay, Inc., 659 F.Supp at 1136;
                                                                     Borden v. F.T.C., 674 F.2d 498, 507 (6th Cir.1982); Brown
II. THE AMENDED COMPLAINT FAILS TO ALLEGE A                          Shoe Co. v. United States, 370 U.S. 294, 325 (1962) (“The
RELEVANT PRODUCT MARKET                                              outer boundaries of a product market are determined by the



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reasonable interchangeability of use or the cross-elasticity of     Co., the Supreme Court explicitly rejected the contention that
demand between the product itself and substitutes for it.”)         a discount priced product can constitute a market distinct from
                                                                    medium priced or high priced products. See Brown Shoe Co.,
In its amended complaint, plaintiff has not explicitly stated       370 U.S. at 326 (“It would be unrealistic to accept Brown's
the relevant market forming the basis of its monopoly claim.        contention that, for example, men's shoes selling below $8.99
Plaintiff's failure to define its market by reference to the        are in a different product market from those selling above
rule of reasonable interchangeability is, standing alone, valid     $9.00.”); see also United States v. Jos. Schlitz Brewing Co.,
grounds for dismissal. See Re–Alco, 812 F.Supp. at 391              253 F.Supp. 129, 145–46 (N.D.Cal.), aff'd per curiam, 385
(“If a complaint fails to allege facts regarding substitute         U.S. 37 (1966) (finding private label and premium beer are
products, to distinguish among apparently comparable                part of same market).
products, or to allege other pertinent facts relating to cross-
elasticity of demand ... a court may grant a Rule 12(b)             Plaintiff's argument further fails in that plaintiff endeavors
(6) motion.” (citing Ford Piano Supply Co. v. Steinway &            to argue that items of the same name-brand, yet priced at
Sons, 1987 Trade Cas. (CCH) 67, 828 at 59, 503, 1988                a discount, can constitute a separate and distinct market.
W.L. 3488 (S.D.N.Y.1988))). Nevertheless, for the purposes          Plaintiff has not advanced the argument based on a “price/
of this motion, the Court construes plaintiff's references to       quality” distinction, but rather only based on a price
name-branded deep discounted merchandise as the market              distinction. In marketing the same items, i.e. name-brand
allegedly being monopolized, and, accordingly, addresses            items, price alone necessarily cannot serve as a logical
whether plaintiff's alleged market survives interchangeability      parameter of a market. Because price affects demand within
analysis.                                                           the market for name-brand goods, it cannot define a market
                                                                    for those same goods.
Applying the interchangeability criteria, the Court finds
plaintiff's alleged market to be implausible. Plaintiff's           Plaintiff's failure to allege a plausible product market is fatal
proposed market is comprised of products as varied as               to its claim. Without an appropriate product market, “it is
household hardwares and children's sleepwear. Hammers are           impossible for a court to assess the anticompetitive effect of
obviously not reasonable substitutes for children's pajamas;        challenged practices.” Re–Alco, 812 F.Supp. at 392 (citing
they are not used for similar purposes, nor will the price          Gianna Enterprises, 551 F.Supp. at 1354).
of hammers affect the price of pajamas. Plaintiff's assertion
that NBDDM constitutes a cognizable market subject to
monopolization is economically nonsensical.                         II. PLAINTIFF'S § 1 CLAIM OF CONSPIRACY
                                                                    AGAINST DEFENDANT GOLDSTEIN
In addition, plaintiff's reliance on Telsat v. Entertainment        Defendant Goldstein also challenges plaintiff's § 1 claim on
and Sports Programming Network, 753 F.Supp. 109, 112                grounds additional to those asserted by defendant Brothers
(S.D.N.Y.1990) (Leisure, J.), is misplaced. Plaintiff would         Stores. Goldstein contends that plaintiff's allegation of a
have the Court believe that a market for quality television         conspiracy fails, because the acts of defendant Brothers Stores
sports programming comprehends the same extensive variety           and Goldstein are well within the bounds of standard business
of noninterchangeable products as “NBDDM.” However, in              practice. Having concluded that plaintiff's § 1 claim against
Telstat, plaintiff's market was confined by logical parameters      defendant Goldstein is dismissed for the reasons set forth
such as television programming, as opposed to radio, and            above, i.e., because of its failure to allege properly a relevant
sports events, as opposed to other types of entertainment           product market, the Court need not and, accordingly, does not
generally. In the instant case, plaintiff's alleged market is not   reach the issue raised by Goldstein herein.
defined by rational parameters, and the products included in
NBDDM lack the requisite commonality which distinguishes
                                                                    III. PLAINTIFF'S § 2 CLAIM OF ATTEMPTED
one market from another.
                                                                    MONOPOLIZATION
                                                                    In addition to dismissing plaintiff's § 2 claim for failure to
 *4 Furthermore, plaintiff's attempt to identify the market as
                                                                    allege a relevant product market, plaintiff's § 2 claim must
“discount priced items” must fail. Discounted pricing cannot
be used as a valid parameter in alleging a relevant product         also be dismissed for the reasons set forth below. 5 The basic
market. See Brown Shoe Co., 370 U.S. at 326. In Brown Shoe          elements of a claim of attempted monopolization under § 2
                                                                    are as follows: (1) predatory or anticompetitive conduct; (2)


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specific intent to monopolize; and (3) dangerous probability          conclusory assertions with few factual allegations to support
of successful monopolization. See Spectrum Sports, Inc.               them. Although no special pleading is required in antitrust
v. McQuillan, 113 S.Ct. 884, 890–91 (1993); Volvo North               cases, Three Crown Ltd. Partnership v. Caxton Corp., 817
America Corp. v. International Professional Tennis Council,           F.Supp. 1033, 1047 (S.D.N.Y.1993), “conclusory allegations
857 F.2d 55, 73 (2d Cir.1988).                                        which merely recite the litany of antitrust will not suffice.”
                                                                      John's Insulation, Inc. v. Siska Constr. Co., 774 F.Supp. 156,
 *5 In its amended complaint, plaintiff has not sufficiently          163 (S.D.N.Y.1991). Even construing plaintiff's allegations
alleged a dangerous probability that monopolization will              liberally, this Court is skeptical that plaintiff will be able
succeed. Plaintiff alleges only that the “intentional and             to satisfy the de minimis level of specificity this Court
unlawful conduct of defendants ... have a dangerous                   may demand “before allowing a potentially massive factual
probability of achieving monopoly power.” Amended                     controversy to proceed.” John's Insulation, 774 F.Supp. at 163
Complaint at 12. The verbatim recitation of statutory                 (citing Associated General Contractors of California, Inc. v.
language cannot save a patently deficient claim. See Segal            California State Council of Carpenters, 459 U.S. 519, 528 n.
v. Gordon, 467 F.2d 602, 608 (2d Cir.1972) (“A complaint              17 (1983)).
cannot escape the charge that it is entirely conclusory in
nature, merely by quoting ... words from the statute[ ]”).
                                                                      IV. PENDENT STATE CLAIMS
Under appropriate circumstances, the Second Circuit has been           *6 In addition to alleging federal claims under 15 U.S.C.
willing to infer a dangerous probability of success when the          § 1, § 2, plaintiff also asserts state law claims. Where a
first two elements of a § 2 claim, coupled with monopoly              court has jurisdiction over one or more aspects of a case,
power, have been shown. See Volvo N. Amer, 857 F.2d at 73–            it may properly assert jurisdiction over any other aspects of
74; but see International Distribution Centers, Inc. v. Walsh         the case that share a common nucleus of operative facts. See
Trucking Co., 812 F.2d 786 (2d Cir.1987) (adhering to the             United Mine Workers v. Gibbs, 383 U.S. 715 (1966); Roco
traditional rule “that an action under section 2 of the Sherman       Carriers, Ltd. v. M/V Nurnberg Express, 899 F.2d 1292 (2d
Act for attempting to monopolize a market will lie only               Cir.1990). Although the exercise of pendent jurisdiction is a
where there is anticompetitive conduct, a specific intent to          matter of the district court's discretion, once a court dismisses
monopolize and a dangerous probability that monopoly will             all federal claims, “the balance of factors ... will point toward
                                                                      declining to exercise jurisdiction over the remaining state-law
be achieved”) (emphasis added). 6 Even assuming, arguendo,
                                                                      claims.” Morse v. University of Vermont, 973 F.2d 122, 127
this Court were willing to infer the third element, the
                                                                      (2d Cir.1992) (quoting Carnegie–Mellon Univ. v. Cohill, 484
insufficiency of plaintiff's allegations obviates this possibility.
                                                                      U.S. 343, 350 (1988)). Therefore, in exercising its discretion,
Plaintiff has not adequately alleged the first two elements
nor has it alleged either an estimated share of the market,           this Court dismisses plaintiff's state law claims. 7
or any other facts in support of a claim of monopoly power.
Therefore, the Court could not infer a dangerous probability
of successful monopolization.                                                                CONCLUSION

Plaintiff's failure to allege sufficiently this element flows         For the reasons stated above, this Court grants defendants'
directly and necessarily from its failure to allege a relevant        motion in its entirety.
product market. It is axiomatic that, without first delineating
a relevant market with minimal specificity, one cannot allege         SO ORDERED.
monopolization of this market. Therefore, in addition to the
reasons stated above, plaintiff's § 2 claim should be dismissed       1       Defendants Brothers' Stores and Goldstein's
for failure to allege a dangerous probability of success.                     motions raise similar arguments, the most notable
                                                                              exception being that Goldstein moves for an order
Having dismissed on the grounds discussed above, the                          dismissing plaintiffs' claims with prejudice. Where
Court need not reach the issue of the anticompetitive acts                    parties' arguments overlap, the Court will address
alleged. However, the Court is doubtful that plaintiff will                   the defendants collectively; where arguments
ever be able to allege sufficient facts to support its antitrust
claims, in that plaintiff's amended complaint contains myriad



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       applying to only one party are raised, the Court will               demand. See International Distribution Center,
       address defendants separately.                                      812 F.2d at 792. Because plaintiff has failed to
                                                                           allege adequately a relevant product market, it
2                                                                          is impractical, if not impossible, for this Court
       Goldstein is named only in E. & G.'s Sherman Act
       § 1 claim.                                                          to apply these criteria to determine dangerous
                                                                           probability of defendants' success.
3      Although plaintiff has not explicitly identified the
                                                                   7
       specific market allegedly monopolized, this Court                   The Court notes that, dismissal of plaintiff's
       construes plaintiff's references to name-branded                    Donnelly Act claim is appropriate on the same
       deep discounted merchandise as the proposed                         grounds as dismissal of the federal antitrust
       market.                                                             claims. The Donnelly Act has been construed as
                                                                           a “Little Sherman Act”, and thus, failure to allege
4      Although only Brothers Stores and Goldstein have                    a relevant product market is fatal to its claim.
       moved to dismiss, this opinion applies with equal                   See International Television Productions Ltd. v.
       force and effect to the remaining defendants,                       Television Div. of Twentieth Century–Fox Film
       Certified Fashion Guild, Inc. and Richard and                       Corp., 622 F.Supp. 1532, 1540 (S.D.N.Y.1985).
       Company, under res judicata or law of the case                      Furthermore, under the Donnelly Act, a plaintiff
       doctrines. See Arizona v. California, 460 U.S. 605,                 must allege an impact on trade in New York. See
       618–19 (1983).                                                      International Television Prods. Ltd., 622 F.Supp. at
5                                                                          1540 (citing Baker v. Walter Reade Theatres, Inc.,
       As previously indicated in footnote 2, supra, the
                                                                           37 Misc.2d 172, 237 N.Y.S.2d 795, 796 (1962)).
       § 2 claim asserted by plaintiff does not apply to
                                                                           While plaintiff alleges acts committed in New
       defendant Goldstein.
                                                                           York, it alleges no impact in New York as a result
6                                                                          of these acts.
       In International Distribution, the Second Circuit
       offered several criteria by which dangerous
       probability may be determined: the strength of              All Citations
       the competition, the probable development of
                                                                   Not Reported in F.Supp., 1994 WL 369147, 1994-1 Trade
       the industry, the barriers to entry, the nature of
                                                                   Cases P 70,650
       the anticompetitive conduct and the elasticity of

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